                                 IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF KANSAS

IN RE:

HOUSER, JEREMY SCOTT                                                      CASE NO. 21-20326
HOUSER, SARAH JEAN                                                        Chapter 7

                   Debtor(s).

                             NOTICE OF REQUEST TO THE BANKRUPTCY CLERK'S
                                  OFFICE IN THE ABOVE-CAPTIONED CASE

         The Trustee, Patricia E Hamilton, in the above-captioned case, requests that the Bankruptcy

Clerk's office furnish to her the following information to assist the Trustee in the closing of the case:

Nominal Assets _______________                                      Asset Case _____________

         Calculation of court costs:

         a) Adversary filing fees                                -0-
                                                          ___________________
         b) Reopening fee                                         -0-
                                                          ___________________
         c) Notices or [check]                                    -0-
                                                          ___________________
             Noticing fees paid previously                ___________________
         d) Certifications                                        -0-
                                                          ___________________
         e) Appeals                                               -0-
                                                          ___________________

         f) Filing Fee -- (Unpaid by Debtor)                -0-
                                                    ___________________
                                     ___________________
         TOTAL COSTS                                        -0-
                                                    ___________________



                  02/17/2022
         DATED: ____________________



                                                          s/ Patricia E. Hamilton
                                                          Patricia E. Hamilton, #13263
                                                          4848 SW 21st Street, Suite 201
                                                          Topeka, KS 66604
                                                          785-408-8000
                                                          785-408-8003 (Fax)
                                                          Phamilton@stevensbrand.com




                      Case 21-20326             Doc# 34
                                                     35        Filed 02/16/22
                                                                     02/17/22           Page 1 of 1
